      Case 1:17-md-02800-TWT Document 939 Filed 12/18/19 Page 1 of 5




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


In re: Equifax Inc. Customer             MDL Docket No. 2800
Data Security Breach Litigation          No. 1:17-md-2800-TWT

                                         CONSUMER ACTIONS

                                         Chief Judge Thomas W. Thrash, Jr.

                            NOTICE OF FILING

      Court-appointed Co-Lead Counsel for the Consumer Track in in the above-

captioned MDL hereby give notice of their filing of the attached Second

Supplemental Declaration of Class Counsel in Support of Final Approval.



Dated: December 18, 2019             Respectfully submitted,

                                     /s/ Amy E. Keller
                                     Amy E. Keller
                                     DICELLO LEVITT GUTZLER LLC
                                     Ten North Dearborn Street
                                     Eleventh Floor
                                     Chicago, Illinois 60602
                                     Tel. 312.214.7900
                                     akeller@dicellolevitt.com
Case 1:17-md-02800-TWT Document 939 Filed 12/18/19 Page 2 of 5




                            /s/ Kenneth S. Canfield
                            Kenneth S. Canfield
                            Ga Bar No. 107744
                            DOFFERMYRE SHIELDS
                            CANFIELD & KNOWLES, LLC
                            1355 Peachtree Street, N.E.
                            Suite 1725
                            Atlanta, Georgia 30309
                            Tel. 404.881.8900
                            kcanfield@dsckd.com

                            /s/ Norman E. Siegel
                            Norman E. Siegel
                            STUEVE SIEGEL HANSON LLP
                            460 Nichols Road, Suite 200
                            Kansas City, Missouri 64112
                            Tel. 816.714.7100
                            siegel@stuevesiegel.com

                            Consumer Plaintiffs’ Co-Lead Counsel

                            Roy E. Barnes
                            Ga. Bar No. 039000
                            BARNES LAW GROUP, LLC
                            31 Atlanta Street
                            Marietta, Georgia 30060
                            Tel. 770.227.6375
                            roy@barneslawgroup.com

                            David J. Worley
                            Ga. Bar No. 776665
                            EVANGELISTA WORLEY LLC
                            8100A Roswell Road Suite 100
                            Atlanta, Georgia 30350
                            Tel. 404.205.8400
                            david@ewlawllc.com
                            Consumer Plaintiffs’ Co-Liaison
                            Counsel

                           2
Case 1:17-md-02800-TWT Document 939 Filed 12/18/19 Page 3 of 5




                            Andrew N. Friedman
                            COHEN MILSTEIN SELLERS &
                            TOLL PLLC
                            1100 New York Avenue, NW
                            Suite 500
                            Washington, D.C. 20005
                            Tel. 202.408.4600
                            afriedman@cohenmilstein.com

                            Eric H. Gibbs
                            GIRARD GIBBS LLP
                            505 14th Street
                            Suite 1110
                            Oakland, California 94612
                            Tel. 510.350.9700
                            ehg@classlawgroup.com

                            James Pizzirusso
                            HAUSFELD LLP
                            1700 K Street NW Suite 650
                            Washington, D.C. 20006
                            Tel. 202.540.7200
                            jpizzirusso@hausfeld.com

                            Ariana J. Tadler
                            TADLER LAW LLP
                            One Penn Plaza
                            19th Floor
                            New York, New York 10119
                            Tel. 212.594.5300
                            atadler@tadlerlaw.com




                           3
Case 1:17-md-02800-TWT Document 939 Filed 12/18/19 Page 4 of 5




                            John A. Yanchunis
                            MORGAN & MORGAN COMPLEX
                            LITIGATION GROUP
                            201 N. Franklin Street, 7th Floor
                            Tampa, Florida 33602
                            Tel. 813.223.5505
                            jyanchunis@forthepeople.com

                            William H. Murphy III
                            MURPHY, FALCON & MURPHY
                            1 South Street, 23rd Floor
                            Baltimore, Maryland 21224
                            Tel. 410.539.6500
                            hassan.murphy@murphyfalcon.com

                            Jason R. Doss
                            Ga. Bar No. 227117
                            THE DOSS FIRM, LLC
                            36 Trammell Street, Suite 101
                            Marietta, Georgia 30064
                            Tel. 770.578.1314
                            jasondoss@dossfirm.com

                            Consumer Plaintiffs’ Steering
                            Committee

                            Rodney K. Strong
                            GRIFFIN & STRONG P.C.
                            235 Peachtree Street NE, Suite 400
                            Atlanta, Georgia 30303
                            Tel. 404.584.9777
                            rodney@gspclaw.com

                            Consumer Plaintiffs’ State Court
                            Coordinating Counsel




                           4
       Case 1:17-md-02800-TWT Document 939 Filed 12/18/19 Page 5 of 5




            LR 7.1(D) CERTIFICATE OF FONT COMPLIANCE

      I hereby certify that the foregoing has been prepared with one of the font and

point selections approved by the Court in Local Rule 5.1(C), Northern District of

Georgia, specifically Times New Roman 14 point.

                                             /s/ Amy E. Keller
                                             Amy E. Keller




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was filed with this Court via its

CM/ECF service, which will send notification of such filing to all counsel of record

this 18th day of December, 2019.

                                             /s/ Amy E. Keller
                                             Amy E. Keller




                                      5
